Case 21-05166-grs       Doc 267-31 Filed 09/01/22 Entered 09/01/22 17:08:29              Desc
                             Proposed Order Page 1 of 1



                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION

IN RE:                                      )
                                            )
HDR FARMS INCORPORATED,                     )
                                            )
         Debtor                             )      Chapter 11
                                            )
                                            )      CASE NO. 20-50888-GRS
HDR FARMS INCORPORATED                      )
LIQUIDATING TRUST,                          )
     Plaintiff                              )              ORDER
                                            )
v.                                          )      AP CASE NO. 21-05166-GRS
                                            )
APPLIED BOTANICS, LLC f/k/a                 )
XSI USA, LLC, et. al.                       )
      Defendants                            )

         This action having come before the Court on the Motion of the Defendants, Charles

Thomas “Todd” Mercer and Annette Cox, for sanctions for Plaintiff and its counsels’ violations

of BR 9011 and 28 U.S.C. 1927 and the court in all ways being duly and sufficiently advised,

         IT IS HEREBY ORDERED AND ADJUDGED that the Defendants’ Motion for

Sanctions is Granted, with the sanctions to include attorney’s fees and costs incurred by Mercer

and Cox in defending this action.

         SO ORDERED, on this the _____ day of ____________, 2022.




                                            __________________________________
                                            JUDGE
                                            UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF KENTUCKY
                                            LEXINGTON DIVISION
